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    Debtor        Jervois Texas, LLC
                  _______________________________________________________                     Case number (if known)_____________________________________
                  Name




     6.   Type of debtor                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________

                                            A. Check one:
     7.   Describe debtor’s business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                            B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   1 ___
                                               2 ___
                                               ___       2
                                                     2 ___
     8.   Under which chapter of the        Check one:
          Bankruptcy Code is the
          debtor filing?                     Chapter 7
                                             Chapter 9
                                             Chapter 11. Check all that apply:
                                                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                                4/01/25 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                of operations, cash-flow statement, and federal income tax return or if all of these
                                                                documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                                chooses to proceed under Subchapter V of Chapter 11.

                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                             Chapter 12
     9.   Were prior bankruptcy cases       
                                            ■ No

          filed by or against the debtor
          within the last 8 years?           Yes. District _______________________ When _______________ Case number _________________________
                                                                                                MM / DD / YYYY
          If more than 2 cases, attach a
          separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY


      Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 2
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                                                                                 Execution Version


                    WRITTEN CONSENT OF THE SOLE MEMBER OF
                              JERVOIS TEXAS, LLC
                                 (the “Company”)

                                         January 28, 2025

               The undersigned, being the sole member of the Company (the “Approving Party”),
does hereby consent to, adopt and approve the following resolutions by written consent and each
and every action effected thereby with the same force and effect as if they had been adopted at a
duly convened meeting of the Company:

                WHEREAS, the Approving Party has considered certain materials presented by,
or on behalf of, the Company’s management (“Management”) and financial and legal advisors
(collectively, the “Advisors”), including, but not limited to, materials regarding the liabilities,
obligations, and liquidity of the Company, the strategic alternatives available to the Company, and
the impact of the foregoing on the Company’s business;

                WHEREAS, the Company, in consultation with the Advisors, has determined that
it is in the best interest of the Company to enter into that certain Amended and Restated
Restructuring Support Agreement, dated January 28, 2025 (as amended, supplemented, or
otherwise modified from time to time, the “RSA”), which contemplates certain restructuring
transactions to be effectuated pursuant to chapter 11 cases of the Company and its debtor affiliates
(the “Bankruptcy Cases”) to be filed in the United States Bankruptcy Court for the Southern
District of Texas (the “Bankruptcy Court”);

               WHEREAS, pursuant to the RSA, the Company intends to pursue the Bankruptcy
Cases in a value-maximizing and effective fashion, and to file all pleadings or documents,
including a chapter 11 plan (the “Plan”) and a related disclosure statement (the “Disclosure
Statement”), that may be required to effectively resolve the Bankruptcy Cases;

                WHEREAS, the Approving Party has reviewed and considered one or more
presentations by Management and the Advisors regarding the advantages and disadvantages of
filing a voluntary petition for relief (the “Bankruptcy Petition”) pursuant to chapter 11 of title 11
of the United States Code, 11 U.S.C. § 101 et seq. (as amended, the “Bankruptcy Code”);

               WHEREAS, the Approving Party has had adequate opportunity to consult with its
Management and the Advisors regarding the materials presented, to obtain additional information,
and to fully consider each of the strategic alternatives available to the Company;

              WHEREAS, the Approving Party has determined, in the judgment of the
Approving Party, that the following resolutions are advisable and in the best interests of the
Company, its interest holders, its subsidiaries, its creditors, and other parties in interest; and

                 WHEREAS, the Approving Party has considered its fiduciary duties under
applicable law in exercising its powers and discharging its duties, to act honestly and in good faith
with a view to the best interests of the Company as a whole, and to exercise the care, diligence,
and skill that a reasonably prudent person would exercise in comparable circumstances.
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                   1. ENTRY INTO RESTRUCTURING SUPPORT AGREEMENT.

                NOW, THEREFORE, BE IT RESOLVED, that it is in the best interest of the
Company to enter into a Restructuring Support Agreement on terms and conditions substantially
similar to the form attached hereto as Exhibit A (the “Restructuring Support Agreement”) and that
the Company entering into a Restructuring Support Agreement would benefit the Company; and

                RESOLVED FURTHER, that (i) the forms, terms and provisions of the
Restructuring Support Agreement, and all the exhibits annexed thereto, (ii) the execution, delivery,
and performance thereof, and (iii) the consummation of the transactions contemplated thereunder
by the Company are hereby authorized, approved, and declared advisable and in the best interest
of the Company, with such changes therein and additions thereto as any director or duly appointed
officer of the Company, each acting individually and with full power of substitution (each, an
“Authorized Person” and, together with any persons to whom such persons delegate certain
responsibilities, collectively, the “Authorized Persons”) executing the same may, in such
Authorized Person’s discretion, deem necessary or appropriate, it being acknowledged that the
execution of the Restructuring Support Agreement and such other documents, agreements,
instructions and certificates as may be required or contemplated by the Restructuring Support
Agreement, as applicable, shall be conclusive evidence of the approval thereof.

                   2. VOLUNTARY PETITION FOR RELIEF UNDER APPLICABLE BANKRUPTCY
                      LAW AND SEEKING NECESSARY RELIEF.

                 RESOLVED, that, in the judgment of the Approving Party, it is desirable and in
the best interests of the Company, its interest holders, subsidiaries, creditors, and other parties in
interest, that the Company shall be, and hereby is, in all respects authorized to file, or cause to be
filed, the Bankruptcy Petition under the provisions of chapter 11 of the Bankruptcy Code in the
Bankruptcy Court for the Company; and, in accordance with the requirements of the Company’s
governing documents and applicable law, hereby consents to, authorizes, and approves, the filing
of the Bankruptcy Petition; and

                RESOLVED FURTHER, that each Authorized Person be, and hereby is,
authorized to execute and file on behalf of the Company all petitions, schedules, lists, and other
motions, papers, or documents, including the Plan and Disclosure Statement (and is authorized to
finalize the documents on terms substantially similar to the forms presented to the Approving
Party), and to take any and all action that such Authorized Person deems necessary or proper to
obtain such relief, including, but not limited to, any action necessary or proper to maintain the
ordinary course operations of the Company.

                   3. RETENTION OF PROFESSIONALS.

               RESOLVED, that each of the Authorized Persons, acting individually and with
full power of substitution, be, and hereby is, authorized, empowered and directed to employ the
following professionals on behalf of the Company: (i) the law firm of Sidley Austin LLP, as
general restructuring counsel; (ii) Moelis & Company, as investment banker; (iii) FTI Consulting,
Inc., as restructuring advisor; (iv) Stretto, Inc., as claims, noticing, and solicitation agent;
(v) Pricewaterhouse Coopers International Limited, as tax advisor; and (vi) any other legal

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counsel, accountants, financial advisors, restructuring advisors, or other professionals such
Authorized Person deems necessary, appropriate, or advisable; each to represent and assist the
Company in carrying out its duties and responsibilities and exercising its rights under the
Bankruptcy Code and any applicable law (including, but not limited to, the law firms filing any
pleadings or responses) and to take any and all actions to advance the rights and obligations of the
Company, including filing any motions, objections, replies, applications, or pleadings; and in
connection therewith, each of the Authorized Persons be, and hereby is, authorized, empowered,
and directed, in accordance with the terms and conditions hereof, to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed appropriate applications for
authority to retain such services.

                   4. CASH COLLATERAL, DEBTOR-IN-POSSESSION                      FINANCING,      AND
                      ADEQUATE PROTECTION.

                 RESOLVED, that the Company will obtain benefits, as necessary or convenient to
the conduct, promotion, maintenance, and attainment of the business of the Company, from (a) the
use of collateral, including cash collateral, as that term is defined in section 363(a) of the
Bankruptcy Code (the “Cash Collateral”), to the extent applicable, which is security for prepetition
secured lenders and the prepetition secured agent (collectively, the “Secured Parties”), if any;
(b) entry into a Supplemental Deed, by and among Jervois Suomi Holding Oy, as the borrower,
certain subsidiaries and affiliates of the borrower from time to time party thereto as guarantors, the
lenders from time to time party thereto, and Acquiom Agency Services Ltd, as agent and security
agent (the “DIP Facility Agreement Supplement”), which amends and restates that certain Facility
Agreement, dated as of October 28, 2021 (as may be amended, restated, amended and restated,
supplemented or otherwise modified from time to time), which shall include: (i) a new money term
loan facility (the “New Money DIP Facility” and the loans advanced under the New Money DIP
Facility, the “New Money DIP Loans”) in the aggregate amount of $25,000,000, and (ii) following
the Effective Time (as defined under the DIP Facility Agreement Supplement) and upon entry of
an interim order by the Bankruptcy Court authorizing the DIP Facility, a roll-up facility in the
aggregate amount of $24,000,000 (the “Roll-Up Facility,” and the loans deemed made thereunder,
the “Roll-Up Loans,” and the Roll-Up Loans together with the New Money DIP Loans, the “DIP
Facility”), in each case subject to the priorities and on terms and conditions set forth in the DIP
Facility Agreement Supplement;

               RESOLVED FURTHER, that in order to use and obtain the benefits of the
DIP Facility and any Cash Collateral, and in accordance with section 363 of the Bankruptcy Code,
the Company will grant and allow perfection of certain liens and other security interests in favor
of and for the benefit of the Secured Parties (the “Adequate Protection Obligations”), as
documented in a proposed interim order (the “DIP Order”) to be filed with the Bankruptcy Court;

                 RESOLVED FURTHER, that the form, terms, and provisions of the DIP Facility
be, and hereby are, in all respects approved on the terms and conditions substantially similar to
those set forth in the form of DIP Documents (as defined below) previously provided and/or
described to the Approving Party, and the Company is hereby authorized and empowered to
(a) enter into the DIP Facility, subject to approval by the Bankruptcy Court, and (b) seek entry of
the DIP Order and any other such order authorizing entry into, and consummation of, the DIP
Facility and the DIP Documents;

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                RESOLVED FURTHER, that the form, terms, and provisions of the DIP Order
to which the Company is or will be subject, and the actions and transactions contemplated thereby
be, and hereby are, authorized, adopted, and approved, and each of the Authorized Persons of the
Company be, and hereby is, authorized, directed, and empowered, in the name of and on behalf of
the Company, to take such actions and negotiate or cause to be prepared and negotiated and to
execute, deliver, perform, and cause the performance of (a) the DIP Order and the DIP Facility
Agreement Supplement, (b) such other agreements, certificates, instruments, notices, receipts,
recordings, filings, petitions, motions, or other papers or documents to which the Company is or
will be a party, including, but not limited to, any security and pledge agreement or guaranty
agreement (collectively, with the DIP Order and the DIP Facility Agreement Supplement, the “DIP
Documents”), and (c) any amendments or modifications to the DIP Documents (with such
changes, modifications, additions, deletions, and amendments thereto as any Authorized Person in
his or her sole discretion shall deem required, necessary, appropriate, desirable or advisable, the
approval of which shall be conclusively established by the execution and delivery thereof);

               RESOLVED FURTHER, that the Company, as debtor and debtor in possession
under the Bankruptcy Code, upon filing of the Bankruptcy Petition, be, and hereby is, authorized
to incur the Adequate Protection Obligations and to undertake any and all related transactions on
substantially the same terms as contemplated under the DIP Documents (collectively, the
“DIP Transactions”), including the guaranty of the obligations thereunder and the granting of liens
on substantially all of its assets to secure such obligations;

                RESOLVED FURTHER, that each of the Authorized Persons of the Company
be, and hereby is, authorized, directed, and empowered in the name of, and on behalf of, the
Company to file or to authorize the collateral agent under the DIP Facility (the “DIP Agent”) to
file any Uniform Commercial Code (the “UCC”) financing statements, any other equivalent
filings, any intellectual property filings and recordation, and any necessary assignments for
security or other documents in the name of the Company that the DIP Agent deems necessary or
appropriate to perfect any lien or security interest granted under the DIP Order, including any such
UCC financing statement containing a generic description of collateral, such as “all assets,”
“all property now or hereafter acquired,” and other similar descriptions of like import, and to
execute and deliver, and to record or authorize the recording of, such mortgages and deeds of trust
in respect of real property of the Company and such other filings in respect of intellectual and other
property of the Company, in each case as the DIP Agent may reasonably request to perfect the
security interests of the DIP Agent under the DIP Order; and

                RESOLVED FURTHER, that each of the Authorized Persons of the Company
be, and hereby is, authorized, directed, and empowered in the name of, and on behalf of, the
Company to take all such further actions, including, without limitation, to pay or approve the
payment of all fees and expenses payable in connection with the DIP Transactions and all fees and
expenses incurred by or on behalf of the Company in connection with the DIP Transactions and
all fees and expenses incurred by or on behalf of the Company in connection with the foregoing
resolutions, in accordance with the terms of the DIP Documents, which shall in their sole judgment
be necessary, proper, or advisable to perform the Company’s obligations under or in connection




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with the DIP Order or any of the other DIP Documents and the transactions contemplated therein
and to carry out fully the intent of the foregoing resolutions.

                   5. FURTHER ACTIONS AND PRIOR ACTIONS.

                RESOLVED, that in addition to the specific authorizations heretofore conferred
upon the Authorized Persons, the Authorized Persons, either individually or as otherwise required
by the Company’s governing documents and applicable law, be, and each of them hereby is,
authorized to execute (under hand or under the common seal of the Company if appropriate),
acknowledge, deliver, and file any and all agreements, certificates, instruments, powers of
attorney, letters, forms, transfers, deeds and other documents on behalf of the Company relating
to the Bankruptcy Cases;

               RESOLVED FURTHER, that each of the Authorized Persons, each acting
individually and with full power of substitution be, and hereby is, authorized, empowered, and
directed to execute and file all petitions, schedules, motions, lists, applications, pleadings, and
other papers, and to perform such further actions and execute such further documentation that such
Authorized Person in their absolute discretion deems necessary, appropriate, or desirable in
accordance with these resolutions;

                 RESOLVED FURTHER, that, in addition to the specific authorizations
heretofore conferred upon the Authorized Persons, the Authorized Persons, either individually or
as otherwise required by the Company’s governing documents and applicable law, be, and each of
them hereby is, authorized to take any and all such other and further actions, and to do all such
other deeds and other things as the Company itself may lawfully do, in accordance with its
governing documents and applicable law, including but not limited to, the negotiation, finalization,
execution, acknowledgement, delivery, and filing of any and all agreements, certificates,
instruments, powers of attorney, letters, forms, transfer, deeds, and other documents on behalf of
the Company, and the payment of all expenses, including but not limited to filing fees, in each
case as such Authorized Person or Authorized Persons may, in his/her/its/their absolute and
unfettered discretion approve, deem or determine necessary, appropriate, advisable, or desirable
in order to fully carry out the intent and accomplish the purposes of the resolutions adopted herein;
such approval, deeming, or determination to be conclusively evidenced by said individual taking
such action or the execution thereof;

                RESOLVED FURTHER, that the Approving Party has received sufficient notice
of the actions and transactions relating to the matters contemplated by the foregoing resolutions,
as may be required by the governing documents of the Company, or hereby waives any right to
have received such notice; and

                RESOLVED FURTHER, that all acts, actions, and transactions relating to the
matters contemplated by the foregoing resolutions done in the name of and on behalf of the
Company, which acts would have been approved by the foregoing resolutions except that such acts
were taken before the adoption of these resolutions, are hereby in all respects approved, confirmed
and ratified as the true acts and deeds of the Company with the same force and effect as if each
such act, transaction, agreement, or certificate had been specifically authorized in advance by
resolution of the Approving Party.

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                                     *      *       *      *

                This resolution may be executed in two or more counterparts, each of which shall
be deemed an original and together constitute one and the same resolution. The words “execution,”
“signed,” “signature,” and words of like import herein shall be deemed to include electronic
signatures or the keeping of records in electronic form, each of which shall be of the same legal
effect, validity or enforceability as a manually executed signature or the use of a paper based
recordkeeping system, as the case may be, to the extent and as provided for in any applicable law.




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                           IN WITNESS WHEREOF, the undersigned, being the sole member of the
             Company, has executed this unanimous written consent in one or more counterparts, each of which
             shall be deemed to be one and the same instrument, as of the date first set forth above.


             JERVOIS AMERICAS LLC, sole member



             _ ______________________________
             Name: Bryce Crocker
             Title: Chief Executive Officer




                            [Signature Page to Unanimous Written Consent – Jervois Texas, LLC]
